Case 19-43402-mxm11 Doc 99 Filed 08/21/19 Entered 08/21/19 12:56:35 Page 1 of 8

 

Monthly Operating Report
ACCRUAL BASIS

CASE NAME: Roo International Pte. Ltd.

CASE NUMBER: _ 19-31443

Hale

 

UNITED STATES BANKRUPTCY COURT
NORTHERN & EASTERN DISTRICTS OF TEXAS
REGION 6

MONTHLY OPERATING REPORT

MONTH ENDING: July 2019

MONTH YEAR

 

IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER
PENALTY OF PERJURY THAT I HAVE EXAMINED THE FOLLOWING MONTHLY OPERATING REPORT
(ACCRUAL BASIS-1 THROUGH ACCRUAL BASIS-7) AND THE ACCOMPANYING ATTACHMENTS AND,
TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.
DECLARATION OF THE PREPARER (OTHER THAN RESPONSIBLE PARTY)IS BASED ON ALL
INFORMATION OF WHICH PREPARER HAS ANY KNOWLEDGE.

  

RESP LE PARTY:

 

 

 
  

 

 

i Director
ORIGINAL ZIG pe OF eo PARTY TITLE
DarrenyMatloff, August 20, 2019
PRIN FEL-MAME OF RESPONSIBLE PARTY DATE
+: Business Manager
ORIGINAL SIGNATURE OF PREPARER | | TITLE

Susan Ocampo August 20, 2019
PRINTED NAME OF PREPARER DATE

 

 

 
Case 19-43402-mxm11 Doc 99 Filed 08/21/19

Entered 08/21/19 12:56:35 Page 2 of 8

 

 

 

 

 

 

 

Monthly Operating Report

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ACCRUAL BASIS-1
CASE NAME: Roottop Group International Pte. Ltd.
CASE NUMBER: 19-31443
COMPARATIVE BALANCE SHEET
SCHEDULE
AMOUNT MAY 2019 JUNE 2019 JULY 2019

HSS IS ashtray cage a
L. UNRESTRICTED CASH $7,066 $7,066 $7,066 $7,066
2. RESTRICTED CASH
3. TOTAL CASH $7,066 $7,066 $7,066 $7,066
4. ACCOUNTS RECEIVABLE (NET)
S, INVENTORY
6. NOTES RECEFVABLE
7, PREPAID EXPENSES
8. OTHER (ATTACH LIST)
9. TOTAL CURRENT ASSETS $7,066 $7,066 $7,066 $7,066
10. PROPERTY, PLANT & EQUIPMENT
li. LESS: ACCUMULATED

DEPRECIATION/DEPLETION
12. NET PROPERTY, PLANT &

EQUIPMENT $0 $0 $0 $0
13. _ DUE FROM INSIDERS
14... OTHER ASSETS - NET OF

AMORTIZATION (ATTACH LIST)
15. | OTHER (ATTACH LIST)
16. TOTAL ASSETS $7,066 $7,066 $7,066 $7,066
POSTPETITION LIABILITIES f
17. _ ACCOUNTS PAYABLE
18. TAXES PAYABLE
19. NOTES PAYABLE
20. | PROFESSIONAL FEES
21. SECURED DEBT
22. OTHER (ATTACH LIST)
23. TOTAL POSTPETITION LIABILITIES $0 $0 $0
JPREPETIVION LIABIEITIES a
24, SECURED DEBT
25. PRIORITY DEBT
26. UNSECURED DEBT $64,525,387 $64,525,387 $64,525,387 $64,525,387
27. OTHER (ATTACH LIST)
28. TOTAL PREPETITION LIABILITIES $64,525,387 $64,525,387 $64,525,387 $64,525,387
29, TOTAL LIABILITIES $64,525,387 $64,525,387 $64,525,387 $64,525,387
30. _PREPETITION OWNERS' EQUITY
31. POSTPETITION CUMULATIVE

PROFIT OR (LOSS)
32. DIRECT CHARGES TO EQUITY

(ATTACH EXPLANATION)
33. TOTAL EQUITY $0 50 $0
34. TOTAL LIABILITIES &

OWNERS' EQUITY $64,525,387 $64,525,387 $64,525,387

 

 

 

 

 

 

 

 

 
Case 19-43402-mxm11 Doc 99 Filed 08/21/19 Entered 08/21/19 12:56:35 Page 3 of 8

 

Monthly Operating Report
ACCRUAL BASIS-2

 

CASE NAME: Rooftop Group Intemational Pte. Ltd.

 

 

{CASE NUMBER: 19-31443

 

 

 

 

INCOME STATEMENT | MAY 2019 | JUNE 2019 | JULY 2019 | MONTH
REVENUES : a ee nomen

 

 

 

1.

GROSS REVENUES

 

>y

ea

LESS: RETURNS & DISCOUNTS

 

3.

NET REVENUE

$0

_ $0

0

a

 

COST OF GOODS SOLD

 

MATERIAL

 

DIRECT LABOR

 

DIRECT OVERHEAD

 

TOTAL COST OF GOODS SOLD

$0

$0

$0

$0

 

GROSS PROFIT

$0

$0

$0

 

PERATING EXPENSES

$0

 

ST" 1 1) 1? >

OFFICER / INSIDER COMPENSATION

 

SELLING & MARKETING

 

GENERAL & ADMINISTRATIVE

 

RENT & LEASE

 

OTHER (ATTACH LIST)

 

14.

TOTAL OPERATING EXPENSES

$0

$0

$0

$0

 

15.

INCOME BEFORE NON-OPERATING INCOME
& EXPENSE

$0

$0

$0

$0

 

OTHER INCOME & EXPENSES

 

16.

NON-OPERATING INCOME (ATTACH LIST)

 

17.

NON-OPERATING EXPENSE (ATTACH LIST)

 

18.

INTEREST EXPENSE

 

19.

DEPRECIATION / DEPLETION

 

AMORTIZATION

 

OTHER (ATTACH LIST)

 

22

NET OTHER INCOME & EXPENSES

$0

oT

$0

 

REORGANIZATION EXPENSES

 

23.

PROFESSIONAL FEES

 

24.

U.S. TRUSTEE FEES

 

25.

OTHER (ATTACH LIST)

 

26.

TOTAL REORGANIZATION EXPENSES

$0

$0

$0

$0

 

27.

INCOME TAX

 

 

28.

NET PROFIT (LOSS)

 

$0

 

$0

 

$0

 

$0

 

 

 

 
Case 19-43402-mxm11 Doc 99 Filed 08/21/19 Entered 08/21/19 12:56:35 Page 4 of 8

 

 

 

 

 

Monthly Operating Report

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ACCRUAL BASIS-3
CASE NAME: Rooftop Group Intemational Pte. Ltd.
CASE NUMBER: 19-31443
CASH RECEIPTS AND DISBURSEMENTS MAY 2019 JUNE 2019 JULY 2019 QUARTER
1. _CASH- BEGINNING OF MONTH $0 $0 $0 i
RECEIPTS FROM OPERATIONS __
2. CASH SALES $0
COLLECTION OF ACCOUNTS RECEIVABLE
3. PREPETITION $0
4. _POSTPETITION $0
5. TOTAL OPERATING RECEIPTS _ $0 $0 $0 $0
NON-OPERATING RECEIPTS =
6. LOANS & ADVANCES (ATTACH LIST) $0
7. SALE OF ASSETS $0
8. OTHER (ATTACH LIST) $0
9. TOTAL NON-OPERATING RECEIPTS $0 $0 $0 $0
10. TOTAL RECEIPTS $0 $0 $0 $0
11. TOTAL CASH AVAILABLE $0 $0 $0
OPERATING DISBURSEMENTS oe
12. NET PAYROLL $0
13. PAYROLL TAXES PAID $0
14. SALES, USE & OTHER TAXES PAID $0
15. SECURED / RENTAL / LEASES $0
16. UTILITIES $0
17. INSURANCE $0
18. INVENTORY PURCHASES $0
19. VEHICLE EXPENSES $0
20. TRAVEL $0
21. ENTERTAINMENT $0
22. REPAIRS & MAINTENANCE $0
23. SUPPLIES $0
24. ADVERTISING $0
25. OTHER (ATTACH LIST) $0
26. TOTAL OPERATING DISBURSEMENTS $0 $0 $0 $0
REORGANIZATION EXPENSES
27. PROFESSIONAL FEES $0
28. U.S. TRUSTEE FEES $0
9, OTHER (ATTACH LIST) $0
30. TOTAL REORGANIZATION EXPENSES $0 $0 $0 $0
31. TOTAL DISBURSEMENTS $0 $0 $0 $0
32. NET CASH FLOW $0 $0 $0 $0
33. CASH -END OF MONTH $0 $0 $0 oe

 

 

 

 
Case 19-43402-mxm11 Doc 99 Filed 08/21/19

Entered 08/21/19 12:56:35 Page 5of8

 

 

 

 

 

 

Monthly Operating Report

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ACCRUAL BASIS-4
CASE NAME: Rooftop Group International Pte. Ltd.
CASE NUMBER: 19-31443
SCHEDULE
ACCOUNTS RECEIVABLE AGING AMOUNT MAY 2019 JUNE 2019 SULY 2019
1. 0-30
2. 31-60
3. 61-90
4. 914+
5. TOTAL ACCOUNTS RECEIVABLE $0 $0 $0 $0
6. AMOUNT CONSIDERED UNCOLLECTIBLE
7. ACCOUNTS RECEIVABLE (NET) $0 $0 $0 $0
AGING OF POSTPETITION TAXES AND PAYABLES MONTH: July 2019
0-30 31-60 61-50 91+
TAXES PAYABLE DAYS DAYS DAYS DAYS TOTAL
t FEDERAL $0
a STATE $0
3. LOCAL $0
4. OTHER (ATTACH LIST) $0
Ss: TOTAL TAXES PAYABLE $0 $0 $0 $0 $0
j6. | ACCOUNTS PAYABLE | | $0 |
STATUS OF POSTPETITION TAXES MONTH: July 2019
BEGINNING AMOUNT ENDING
TAX WITHHELD AND/ AMOUNT TAX
FEDERAL LIABILITY OR ACCRUED PAID LIABILITY
A: WITHHOLDING $0
De FICA-EMPLOYEE $0
3. FICA-EMPLOYER. $0
4. UNEMPLOYMENT $0
5: INCOME $0
6. OTHER (ATTACH LIST) $0
7. TOTAL FEDERAL TAXES $0 $0 $0 $0
STATE AND LOCAL
8. WITHHOLDING $0
9. SALES $0
10. EXCISE $0
Jl. UNEMPLOYMENT $0
12. REAL PROPERTY $0
13. PERSONAL PROPERTY $0
14. OTHER {ATTACH LIST) $0
15: TOTAL STATE & LOCAL $0 $0 $0 $0
16. TOTAL TAXES $0 $0 $0 $0

 

 

 

 
Case 19-43402-mxm11 Doc 99 Filed 08/21/19 Entered 08/21/19 12:56:35 Page 6 of 8

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Monthly Operating Report
ACCRUAL BASIS-5
CASE NAME: Rooftop Group International Pte. Ltd.
CASE NUMBER: 19-31443
MONTH: July 2019
BANK RECONCILIATIONS
Account #1 Account #2 Account #3

A. BANK: TAIPEI] FUBON BANK
B. ACCOUNT NUMBER: 9 50800083207 TOTAL
Cc. PURPOSE (TYPE): SAVINGS
1. BALANCE PER BANK STATEMENT $7,006 $7,066
2. ADD: TOTAL DEPOSITS NOT CREDITED $0
3. SUBTRACT: OUTSTANDING CHECKS $0
4. OTHER RECONCILING ITEMS $0
5. MONTH END BALANCE PER BOOKS $7,066 $0 $0 $7,066
6. NUMBER OF LAST CHECK WRITTEN ey

 

 

 

 

 

 

 

ACCOUNT NAME & NUMBER PURCHASE INSTRUMENT

 

 

CASH

 

 

 

12. CURRENCY ON HAND $0 |

 

ITs. TOTAL CASH - END OF MONTH $7,066 |

 

 

 
Case 19-43402-mxm11 Doc 99 Filed 08/21/19 Entered 08/21/19 12:56:35 Page 7 of 8

 

 

 

 

 

 

 

 

 

 

Monthly Operating Report
ACCRUAL BASIS-6
CASE NAME: Rooftop Group International Pte. Ltd.
CASE NUMBER: 19-31443
MONTH: July 2019
[PAYMENTS TO INSIDERS AND PROFESSIONALS ]

 

INSIDERS
TYPE OF AMOUNT TOTAL PAID

PAYMENT PAID TO DATE

TOTAL PAYMENTS TO INSIDERS $0

PROFESSIONALS
A "OURT TOTAL

ORDER AUTHORIZING | AMOUNT AMOUNT TOTAL PAID INCURRED
PAYMENT APPROVED PAID TO DATE & UNPAID

 

 

POSTPEIITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE
PROTECTION PAYMENTS

 

 

 

SCHEDULED
MONTHLY TOTAL
PAYMENTS UNPAID
NAME OF CREDITOR DUE POSTPETITION

 

 

 

 
Case 19-43402-mxm11 Doc 99 Filed 08/21/19 Entered 08/21/19 12:56:35 Page 8 of 8

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Monthly Operating Report
ACCRUAL BASIS-7
CASE NAME: Rooftop Group International Pte. Ltd.
CASE NUMBER: 19-31443
MONTH: July 2019
QUESTIONNAIRE
YES NO
1. HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE x
THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?
2. HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT x
OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?
3. ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES, OR x
LOANS) DUE FROM RELATED PARTIES?
4. HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES xX
THIS REPORTING PERIOD?
5. HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE x
DEBTOR FROM ANY PARTY?
6. ARE ANY POSTPETITION PAYROLL TAXES PAST DUE? x
7. ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES x
PAST DUE?
8 ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE? x
. ARE ANY OTHER POSTPETITION TAXES PAST DUE? x
10. ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS x
DELINQUENT?
ll. HAVE ANY PREPETITION TAXES BEEN PAID DURING THE x
REPORTING PERIOD?
12. ARE ANY WAGE PAYMENTS PAST DUE? x
IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES," PROVIDE A DETAILED
EXPLANATION OF EACH ITEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.
INSURANCE |
YES NO
1. ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER x

NECESSARY INSURANCE COVERAGES IN EFFECT?
ARE ALL PREMIUM PAYMENTS PAID CURRENT? xX
PLEASE ITEMIZE POLICIES BELOW. this

 

 

why

 

 

 

 

 

IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO," OR IF ANY POLICIES HAVE BEEN
CANCELLED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN EXPLANATION
BELOW. ATTACH ADDITIONAL SHEETS IF NECESSARY.

WE DO NOT HAVE ANY INSURANCE POLICIES CURRENTLY IN EFFECT.

 

 

INSTALLMENT PAYMENTS

PAYMENT AMOUNT
POLICY PERIOD COVERED &

 

 

 
